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 8                                    UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          Case No. 1:08-cr-00054-DAD-1
12                       Plaintiff,                     ORDER GRANTING THE GOVERNMENT’S
                                                        MOTION TO DISMISS THE INDICTMENT
13            v.                                        AND RECALL WARRANT PURSUANT TO
                                                        FED. R. CRIM. PROC. 48 (a)
14   MIGUEL ZACARIAS SANDOVAL,
                                                        (Doc. No. 53)
15                       Defendants.
16

17            Due to the age of this case and in the interest of justice, the government’s motion to

18   dismiss the indictment and recall the warrant as to the above named defendant is GRANTED.

19   IT IS SO ORDERED.
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     Dated:        March 8, 2016
21                                                          UNITED STATES DISTRICT JUDGE

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